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 5 Attorneys for Hui Hua

 6                             IN THE UNITED STATES DISTRICT COURT

 7                                 EASTERN DISTRICT OF CALIFORNIA

 8
 9   UNITED STATES OF AMERICA,                              CASE NO. 2:14-cr-00220-KJM-8
10                                 Plaintiff,               AMENDED MOTION TO RETURN
                                                            PRETRIAL STATUS TO
11   v.                                                     UNSECURED BOND AND
                                                            RECONVEY DEED
12   HUI HUA,
                                                            Date : , 2015
13                                 Defendant.               Time: 2:00 P.M.

14                                                          Magistrate Judge Allison Claire

15
            Hui Hua moves the Court for an order modifying the conditions of pretrial release to allow
16
     her to return to her pretravel pretrial release conditions; to wit: unsecured $100,000.00 bond. Ms
17
     Hua requests that this Court grant her request and execute a deed of reconveyance to return Ms.
18
     Hua’s property to she and her husband
19
            I.       Procedural History
20
            Ms. Hua is still in early court proceedings for growing marijuana in violation of federal law.
21
     Ms. Hua has been under pretrial supervision for eight months [since September 2, 2014] and has
22
     complied with all conditions of release.
23
            II.      Applicable Law.
24

25
     order “to impose additional or different conditions of release.”
26

27
            //
28                                                      1
29

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 1          III.   Motion.

 2          Ms. Hua requested that this Court permit her to travel to China to tend to retirement issues.

 3 Further the Court ordered that she return to the United States and upon return, contact Pretrial

 4 Services and return her passport.

 5          Ms. Hua traveled to China and did in fact return to the United States and has complied with

 6 all conditions of Pretrial Release.

 7          As a condition of permitting travel to China the Court required that Ms. Hua execute a Deed

 8 of Trust on her property in Stockton. Ms. Hua and her husband executed the Deed of Trust.
 9          IV.    Request

10          Ms. Hua has complied with all conditions of her permitted travel to China. It is Ms. Hua’s

11 request that the Deed of Trust be Reconveyed back and that she be restored to her pretravel pretrial

12 release condition of an unsecured bond of $100,000.00.

13          Assistant United States Attorney Michael McCoy agrees with the request to return her to her

14 pretravel status of unsecured property bond.

15          V.     Conclusion.

16          Ms. Hua respectfully asks the Court to modify her conditions of release to return to her to an

17 unsecured bond of $100,000.00 and to execute a Deed of Reconveyance.

18

19 Dated: August 5, 2015                                  Respectfully Submitted,

20
                                                          /s/ Linda M. Parisi by e-mail authorization
21                                                        ______________________________________
                                                          Linda M. Parisi
22
                                                          Attorney for Hui Hua
23

24 Dated: August 5, 2015                                  BENJAMIN B. WAGNER
                                                          United States Attorney
25
26                                                        /s/ Christian Highsmith by e-mail authorization
                                                          _______________________________________
27                                                         Christian Highsmith , Assistant U.S. Attorney
                                                             Attorney for Plaintiff
28                                                    2
29

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                Case 2:14-cr-00220-KJM Document 133 Filed 08/06/15 Page 3 of 3



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                                     IN THE UNITED STATES DISTRICT COURT
 7
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
      UNITED STATES OF AMERICA                               Case No. 2:14-cr-00220-KJM-8
10                                               )
                                    Plaintiff,
11                                                           ORDER
           v.
12

13    HUI HUA
                                  Defendant,
14

15

16              IT IS HEREBY ORDERED that Ms. Hui Hua’s pretrial release conditions be modified to
17
     that her pretrial release conditions are an unsecured bond in the amount of $100,000.00.
18
                IT IS FURTHER ORDERED the deeds of trust, previously posted as security in
19
     this matter is hereby exonerated and the Clerk of the Court or his designee is directed
20

21 to forthwith exonerate the bail posted in this matter; i.e., a deed to property – 2248 Telegraph

22 Avenue, Stockton, CA 95204 and to prepare and cause to be filed any Deed of Reconveyance as

23 necessary to fully exonerate bail.

24 Dated: August 6, 2015

25
26
     dad1.crim
     hua0220.stipo.reconveyance
27

28                                                      3
29

30
